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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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DEMIKA  KITTLES, DAVON _ KITTLES, Jury Trial Demanded
PATIENCE SLAUGHTER, VONDELL OLIVER

JR., KAMANI AIME, GENTRESE BARFIELD,

JACKIE PURDIE, LINCOLN _ ISIDORE,

QUARON PACKER,

Plaintiffs,
~against-

CITY OF NEW YORK; Police Officer ALEX
MALPICA, Police Officer John and Jane Doe 1
through 20, individually and in their official
capacities (the names John and Jane Doe
being fictitious, as the true names are
presently unknown),

Defendants.

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NATURE OF THE ACTION
1. This is an action to recover money damages arising out of the violation of
plaintiffs’ rights under the Constitution.

RISDICTION AND VENUE
2. This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, and the
Fourth and Fourteenth Amendments to the Constitution of the United
States.

3. The jurisdiction of this Court is predicated upon 28 U.S.C. §§ 1331 and
1343.

4. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391 (b) and (c).

JURY DEMAND
5. Plaintiffs demand a trial by jury in this action.

PARTIES
6. Plaintiffs DEMIKA KITTLES, DAVON KITTLES, PATIENCE SLAUGHTER,
VONDELL OLIVER JR., KAMANI AIME, GENTRESE BARFIELD, JACKIE
PURDIE, LINCOLN ISIDORE, QUARON PACKER are residents of Kings
County in the City and State of New York.
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7. Defendant City of New York is a municipal corporation organized under
the laws of the State of New York. It operates the NYPD, a department or
agency of defendant City of New York responsible for the appointment,
training, supervision, promotion and discipline of police officers and
supervisory police officers, including the individually named defendants
herein.

8. Defendant Police Officer ALEX MALPICA (“MALPICA”), at all times
relevant herein, was an officer, employee and agent of the NYPD.
Defendant MALPICA is sued in his individual and official capacities.

9. At all times relevant defendants John and Jane Doe 1 through 20 were
police officers, detectives or supervisors employed by the NYPD.

Plaintiffs do not know the real names and shield numbers of defendants
John and Jane Doe 1 through 20.

10. Atall times relevant herein, defendants John and Jane Doe 1 through
20 were acting as agents, servants and employees of defendant City of
New York and the NYPD. Defendants John and Jane Doe 1 through 20
are sued in their individual and official capacities.

11. Atall times relevant herein, all individual defendants were acting
under color of state law.

STATEMENT OF FACTS

12. At approximately 1 p.m. on SEPTEMBER 26, 2020, the defendants
placed the plaintiffs under arrest at 660 GATES AVE, County of Kings,
City and State of New York.

13. The defendants then raided the location with weapons at hand,
searching and handcuffing the plaintiffs before transporting them to the
73rd precinct where the plaintiffs detention continued.

14. The defendants were discourteous and used unnecessary force when
searching, handcuffing and/or speaking with the plaintiffs.

15. Once at the 73rd Precinct; Defendant MALPICA interrogated a
number of the plaintiffs.

16. The plaintiffs were released from the precinct after over 24 hours in
custody with the exception of Demika Kittles who was held further and
prosecuted.

17. Defendant MALPICA falsely informed employees of the Kings County
District Attorney’s Office that they had observed Ms. Kittles commit
various crimes.

18. Atno point did the officer observe any of the plaintiffs commit any
crimes or offenses.
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19. From the precinct, Ms. Kittles was taken to Brooklyn Central Booking.

20. She was then arraigned in the Kings County Criminal Court, where
she was released on their recognizance.

21. Plaintiffs suffered damage as a result of defendants’ actions. Plaintiffs
were deprived of their liberty, suffered emotional distress, mental
anguish, fear, pain, bodily injury, anxiety, embarrassment, humiliation,
and damage to their reputation.

FIRST CLAIM
42 U.S.C. § 1983

22. Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

23. Defendants, by their conduct toward plaintiffs alleged herein, violated
plaintiffs’ rights guaranteed by 42 U.S.C. § 1983, the Fourth, Fifth and
Fourteenth Amendments to the Constitution of the United States.

24. Asadirect and proximate result of this unlawful conduct, Plaintiffs
sustained the damages hereinbefore alleged.

SECOND CLAIM
False Arrest

25. Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

26. Defendants violated the Fourth and Fourteenth Amendments because
they arrested plaintiffs without probable cause.

27.  Asadirect and proximate result of this unlawful conduct, Plaintiffs
sustained the damages hereinbefore alleged.

THIRD CLAIM
Malicious Prosecution

28. Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

29. By their conduct, as described herein, and acting under color of state
law, defendants are liable to plaintiffs under 42 U.S.C. § 1983 for the
violation of his constitutional right to be free from malicious prosecution
under the Fourth and Fourteenth Amendments to the United States
Constitution.

30. Defendants’ unlawful actions were done willfully, knowingly, with
malice and with the specific intent to deprive plaintiffs of his
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constitutional rights. The prosecution by defendants of plaintiffs
constituted malicious prosecution in that there was no basis for the
plaintiffs’ arrest, yet defendants continued with the prosecution, which
was resolved in plaintiffs’ favor.

31. Asadirect and proximate result of defendants’ unlawful actions,
plaintiffs have suffered, and will continue to suffer, damages, including
physical, mental and emotional injury and pain, mental anguish,
suffering, humiliation, embarrassment and loss of reputation.

FOURTH CLAIM
Unreasonable Force

32. Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

33. The defendants violated the Fourth and Fourteenth Amendments
because they used unreasonable force on plaintiffs.

34. Asa direct and proximate result of this unlawful conduct, plaintiffs
sustained the damages hereinbefore alleged.

FIFTH CLAIM
Denial Of Constitutional Right To Fair Trial

35. Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

36. The individual defendants created false evidence against Plaintiffs.

37. The individual defendants forwarded false evidence to prosecutors in
the Kings County District Attorney’s office.

38. In creating false evidence against Plaintiffs, and in forwarding false
information to prosecutors, the individual defendants violated Plaintiffs’
constitutional right to a fair trial under the Due Process Clause of the
Fifth and Fourteenth Amendments of the United States Constitution.

39. Asadirect and proximate result of this unlawful conduct, Plaintiffs
sustained the damages hereinbefore alleged.

SIXTH CLAIM
Malicious Abuse Of Process

40. Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

41. The individual defendants issued legal process to place Plaintiffs
under arrest.
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The individual defendants arrested Plaintiffs in order to obtain
collateral objectives outside the legitimate ends of the legal process, to
wit, to cover up their assault of them.

The individual defendants acted with intent to do harm to Plaintiffs
without excuse or justification.

As a direct and proximate result of this unlawful conduct, Plaintiffs
sustained the damages hereinbefore alleged.

SEVENTH CLAIM
First Amendment Retaliation

Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

By their conduct, as described herein, and acting under color of state
law to deprive the plaintiffs of his right to freedom of speech under the
First and Fourteenth Amendments, the individual defendants are liable
for violation of 42 U.S.C. § 1983 which prohibits the deprivation under
color of state law of rights secured under the United States Constitution.
The individual defendants have violated plaintiffs’ First Amendment
rights to speech by unlawfully denying his right to speak freely by
subjecting him to false arrest and excessive force to deter the exercise of
his First Amendment rights. Defendants’ actions were taken in
retaliation for plaintiffs’ exercising their First Amendment rights.

As a consequence of the individual defendants’ actions, plaintiffs have
suffered violations of his First and Fourteenth Amendment rights to free
speech. Plaintiffs have fear and apprehension that they will, again, be
subject to similar unlawful acts by defendants done for the purpose of
limiting and preventing their First Amendment-protected activities.

As a direct and proximate result of the individual defendants’
unlawful actions, plaintiffs have suffered damages including, physical,
mental and emotional injury and pain, mental anguish, suffering,
humiliation, embarrassment and loss of reputation.

EIGHTH CLAIM
Failure To Intervene
Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.
Those defendants that were present but did not actively participate in
the aforementioned unlawful conduct observed such conduct, had an

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opportunity prevent such conduct, had a duty to intervene and prevent
such conduct and failed to intervene.

51. Accordingly, the defendants who failed to intervene violated the First,
Fourth, Fifth And Fourteenth Amendments.

52. As adirect and proximate result of this unlawful conduct, Plaintiffs
sustained the damages hereinbefore alleged.

SEVENTEENTH CLAIM
Monell

53. Plaintiffs repeat and reallege each and every allegation as if fully set
forth herein.

54. This is not an isolated incident. The City of New York (the “City”),
through policies, practices and customs, directly caused the
constitutional violations suffered by plaintiffs.

55. The City, through its police department, has had and still has hiring
practices that it knows will lead to the hiring of police officers lacking the
intellectual capacity and moral fortitude to discharge their duties in
accordance with the constitution and is indifferent to the consequences.

56. The City, through its police department, has a de facto quota policy
that encourages unlawful stops, unlawful searches, false arrests, the
fabrication of evidence and perjury.

57. The City, at all relevant times, was aware that these individual
defendants routinely commit constitutional violations such as those at
issue here and has failed to change its policies, practices and customs to
stop this behavior.

58. The City, at all relevant times, was aware that these individual
defendants are unfit officers who have previously committed the acts
alleged herein and/or have a propensity for unconstitutional conduct.
These policies, practices, and customs were the moving force behind
plaintiffs’ injuries

PRAYER FOR RELIEF
WHEREFORE, plaintiffs respectfully requests judgment against
defendants as follows:

a. Compensatory damages against all defendants, jointly and severally;

b. Punitive damages against the individual defendants, jointly and
severally;

c. Reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 1988; and

d. Such other and further relief as this Court deems just and proper.

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DATED: oy
July 25, 2023
Brooklyn, New York

UV sy Rameau, Esq.
The Rameau Law Firm
16 Court Street, 2504
New York, New York 11241
(718) 852-4759
rameaulawny@gmail.com

Attorney for plaintiffs
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